Case 1:24-cv-20941-KMW Document 1-1 Entered on FLSD Docket 03/11/2024 Page 1 of 25




                         Exhibit 1
Case 1:24-cv-20941-KMW Document 1-1 Entered on FLSD Docket 03/11/2024 Page 2 of 25
                        Registration #:   vA0002355341
                     Service Request #:   t-12771168857
                                                                                     t--"Al




 Witzburg Ventures LLC DBA Francesca Witzburg, Esq
 Francesca M. Witzburg
 208 Lenox Ave,#2ll
 Westfield, NJ 07090 United States
  Case 1:24-cv-20941-KMW Document 1-1 Entered on FLSD Docket 03/11/2024 Page 3 of 25
Certificate of Registration
                                                                                                                                 fit{
                                                                                                                                 t--;*l
    STA re            This Certificate issued under the seal of the Copyright
                      Office in accorclance with title rT,United States Codc,
                      attests that registration has been made for the work
                      identified below. The information on this certificate has         Registration Number
               !      been made a part of the Copyright Office records.
                                                                                        vA 2-355-341
                                                                                        Effective Date of Registration:
    'I870'                                                                              luly 13,2023
                                                                                        Registration Decision Date:
                      United States Register of Copyrights and Director                  IuJy 21,2O23




   Title
                           Title of Work: Tushbaby.com Website


   Completion/Publ ication
                   Year of Completion:       2022
                Date of lst Publication:     December 31,2022
               Nation of lst Publication:    United States

   Author
                      a          Author:     Jackie Cederholm
                          Author Created:    photographs


                     a           Author:     David Myers
                          Author Created:    text
                             Domiciled in:   United States


   Copyright Claimant
                   Copyright Claimant:       TushBaby, Inc.
                                             2356Lariat Ln, Walnut Creek, CA,94596, United States
                    Transfer statement:      By written agreement

   Limitation of copyright claim
     Material excluded from this claim:      text by third parties, photographs by third parties

        New material included in claim:      text, photographs

    Rights and Permissions

                   Organization Name:        Witzburg Ventures LLC DBA Francesca Witzburg, Esq.
                                   Name:     Francesca M. Witzburg


                                                                                                                    Page I of2
Case 1:24-cv-20941-KMW Document 1-1 Entered on FLSD Docket 03/11/2024 Page 4 of 25
Case 1:24-cv-20941-KMW Document 1-1 Entered on FLSD Docket 03/11/2024 Page 5 of 25
                       Registration #:      vA0002360715
                    Service Request #:      t-12824639906
                                                                                     i:.J'




Wiuburg Ventures LLC DBA Francesca Witzburg, Esq
Francesca M. Witzburg
208 Lenox Ave., #21 I
Westfield, New Jersey 07090 United States
  Case 1:24-cv-20941-KMW Document 1-1 Entered on FLSD Docket 03/11/2024 Page 6 of 25
Certifi cate of Registration
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                            attests that registration has been nade for the work
                            identifed belor,r,. Thc inlormation on this ccrtificate has   Registration Number
                            bcen made a part of tbe Copyright Office recorcls.
                                                                                          vL2-360-7ts
                         ,(rl.t^ &rh"ffi
                                                                                          Effective Date of Registration:
     t870                                                                                 August 07, 2023
                                                                                          Registration Decision Dste:
                            United States Register ofCopy;ights and Director              August 31, 2023




  Copyright Registration for a Group of published photographs
  Registration issued pursuant to 37 C.F.R. S 202.4(D
                  For Photographs Published: June 27, 2O22 to November 03, 2022

                    Tiile

                               Title ofGroup: Tushbaby Photos 2022 by Jackie Cederholm
      Number of Photographs in Group: 87

   Completion/Publication
                     Year of Completion: 2022
     Earliest Publication Date in Group: J::ne 2'1,2022
      Latest Publication Date in Group: November 03, 2022
              Nation of First Publication: United States




  Author

                                    Author:        Jackie Cederholm
                             Author Created:       photographs
                                 Domiciled in:     United States

  Copyright Claimant
                        CopyrightClaimant: TushBaby, Inc.
                                            2356 Ladd LD, Walnut Creek, CA, 94596, United Stat€s
                         Trand€r statem€nt: By writt€n agreement


  Rights and Permissions

                         Organization Name:        Witzburg Ventures LI-C DBA Francesca witzburg, Esq
                                        Name:      Francesca M. Witzburg
                                        Email:     francesca@ witzburg.com
                                   Telephone:      (91'1)397 -\384


                                                                                                                     Page I of 2
Case 1:24-cv-20941-KMW Document 1-1 Entered on FLSD Docket 03/11/2024 Page 7 of 25




                           Addressr One Rockefeller Plaza, I lth Floor
                                    New York. NY 10020 United States

 Certification
                             Namel Francesca M. witzbug
                              Date: August 07, 2023
      Applicant'sTrackingNumber: TUSI{B-CO2



            Copyright Oflice notes: Regarding title information: Deposit contains complete list of titles that
                                       correspond to the individual photographs included in this group.

                                       Regarding group registration: A group ofpublished photographs may be
                                       registered on one application with one filing fee only under limited
                                       circumstances. ALL of the following are required: l. AIt photographs (a) were
                                       created by the same author AND (b) are owned by the same copyright claimant
                                       AND (c) were published in the same calendar year AND 2. The group contains
                                       750 photographs or less AND 3. A sequentially numbered list ofphotographs
                                       containing the title, file name and month ofpublication for each photograph
                                       included in the group must b€ uploaded along with other required application
                                       materials. The list must be submitted in an approved document format such as .
                                       XLS or .PDF. The file name for the numbered list must contain the title of the
                                       group and the Case Number assigned to the application.




                                                                                                           Page 2 of 2
Case 1:24-cv-20941-KMW Document 1-1 Entered on FLSD Docket 03/11/2024 Page 8 of 25
                       Registration #:   vA0002360714
                    Service Request #:   t-t2824549251                               {.jtit
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Witzburg Ventures LLC DBA Francesca Witzburg, Esq.
Francesca M. Witzburg
208 trnox Ave., #21 I
Westfield, NJ 07090 United States
 Case 1:24-cv-20941-KMW Document 1-1 Entered on FLSD Docket 03/11/2024 Page 9 of 25
Certifi cate of Registration
                                                                                                                             t!K{
    .S1AT,:            This Oertificate issued under the seal ofthe erpyright                                                i:aif,
                       Ofice irr accordancc with title q, Linitcd Stttes Code,
                       attests that registration has been made fbr the $.ork
               a       identificd belonr The infbrnration on this ccrrificate has   Registration Number
                       been made a parr of the Copyright Office r ecords.
                                                                                    YA2-360-714

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                                                                                    Eff€ctive Dste of Registration:
      870                                                                           August 07, 2023
                   ,-41,t^
                       United States Register of Copwights and I)ircctor
                                                                                    Registration Decision Date:
                                                                                    August 31,2023




  Copyright Registration for a Group of published photographs
  Registralion issued pursuant to 37 C.F.R. g 202.4(i)
              For Photographs Published: May 03,2018 to September 10.2018

               Tifle

                          Title ofGroup: Tushbaby Photos by Mark Forr
      Number of Photographs in Group: 30

   Completion/Publication
                     Year of Completion: 2018
     Earliest Publication Date in Group: May 03, 2018
      Latest Publication Date in Group: September 10, 2018
              Nation of First Publication: United States




  Author

                               Author:        Mark Fore
                        Author Created:       photographs
                            Domiciled in:     United States

  Copyright Claimant
                   Copyright Claimant:       TushBaby, Inc.
                                             2356 Lariat Ln, Walnut Creek, CA, 94596, United States
                   Transf€r statemeDt:       By written agreement


  Rights and Permissions

                   Organization Name:        Witzburg Ventures I-l,C DBA Francesca Witzburg, Esq
                                   Name:     Francesca M. Witzburg
                                   Email:    francesca@ wilzburg.com
                              Telephone:     (917)397- 1384


                                                                                                               Page I of 2
Case 1:24-cv-20941-KMW Document 1-1 Entered on FLSD Docket 03/11/2024 Page 10 of 25



                            Address: One Rockefeller Plaza. llthFloor
                                        New York, NY 10020 United States

  Certification
                              Name:     Francesca M. Witzburg
                               Date:    August 07, 2023
       Applicant's Tracking Number:     TUSHB.CO3



             Copyright Oflice notes: Regarding title information: Deposit contains complete list of titles that
                                        corrcspond to the individual photographs included in this group.

                                        Regarding group registration: A group of published photographs may be
                                        registered on one application with one filing fee only under limited
                                        circumstances. ALL ofthe following are required: l. AJI photographs 1a) were
                                        crcated by the same author AND (b) are owned by the same copyright claimant
                                        AND (c) werc published in the same calendar year AND 2. The group contains
                                        750 photographs or less AND 3. A sequentially numbered list of photographs
                                        containing the title, file name and month ofpublication for each photogaph
                                        included in the group must be uploaded along with other required application
                                        materials. The list must be submitted in an approved document format such as .
                                        XLS or .PDF. The file name for the numbered list must contain the title of the
                                        group and the Case Number assigned to the applicarion.




                                                                                                            Page 2 of 2
Case 1:24-cv-20941-KMW Document 1-1 Entered on FLSD Docket 03/11/2024 Page 11 of 25
                         Registration #:   VAu001511350
                      Service Request #:   't-12970117683

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  ESCA LEGAL LLC
  Francesca M. Witzburg
  208 Lenox Ave #211
  Westfield, NJ 07090 United Srates
 Case 1:24-cv-20941-KMW Document 1-1 Entered on FLSD Docket 03/11/2024 Page 12 of 25
Certificate of Registration                                                                                               g{t
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    sTATT            This Certificate issued under the seal ofthe Coppight
                     Ofhce in accordance with tide r7, United Stctes Code,
                     attests that registration has been made for the work
             a       identified below. The information on this certificate has   Registration Number
             :          been made a part ofthe Coppight Office records.          VAU 1-511-350
                                                                                 EITectiYe Date of Registration:
     1870'
                   ,4rtt^ &r/rkffi
                        United States Register ofCopyrights and Director
                                                                                 September 10, 2023
                                                                                 Registration Decision Date:
                                                                                 November 20, 2023




   Title
                          Title of Work: Tushbaby Anwork 1


   Completion/Publication
                 Year of Completionz 2023

   Author
                    .          Author:      David Hassan
                        Author Created:     2-D artwork
                           Domiciled in:    United States


   Copyright Claimant
                 Copyright Cl&imant:        TushBaby, Inc.
                                            PO Box 413, 160 Alamo PIz, Alamo, CA,94507, United States
                   Tramfer statement:       By written agreement




    Rights and Permissions

                 Organization Name:         ESCA LEGAL LLC
                                  Name:     Francesca M. Witzburg
                                  Email:    francesca@ witzburg.com
                              Telephone:    (917 )397 -1384
                                Address:    One Rockefeller Plaza, I lth Floor
                                            New York, NY 10020 United States

   Certilication
                                  Name:     Francesca M. Witzburg
                                    Date:   September 10,2023


                                                                                                            Page 1 of 2
Case 1:24-cv-20941-KMW Document 1-1 Entered on FLSD Docket 03/11/2024 Page 13 of 25



      Applicant'sTrackingNumber: TUSHB-CO5


           Copyright Oflice notes: Basis for Registmtion: Registration does not extend to any useful article
                                      depicted. Registration extends to deposited artwork only. l7 USC 101, 102(a),
                                      and I 13.




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Case 1:24-cv-20941-KMW Document 1-1 Entered on FLSD Docket 03/11/2024 Page 14 of 25
                         Registration #: VA0002360713
                     Service Request   #: l-128335533'11
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 Witzburg Ventures LLC DBA Francesca Witzburg, Esq.
 Francesca M. Witzburg
 208 Lenox Ave., #21 I
 Westfield, New Jersey 07090 United States
     Case 1:24-cv-20941-KMW Document 1-1 Entered on FLSD Docket 03/11/2024 Page 15 of 25
Certificate of Registration
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        Sf,i?'5             'l'his Certjticate issued urder the sell of the C,oprright                                             t=:dt
                            Olnce in accordance rvith title r7, ljnitcd Ststes Codc,
 :                          attests that registratioo has been ltade for the \^'ork
                     o      identified below. The inlornration oo this certificate has     Registration Number
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                            been madc a part ofthe Copl'right OfIice recorcls.
                                                                                           YA2-360-713
                                                                                          Effective D&te of Registration:
        ra70
                         ,1rlr,^&ril-ffi
                            United Statcs Register o1'Copyrights and Director
                                                                                          August 07, 2023
                                                                                          Registration Decision Dste:
                                                                                          August 31, 2023




     Copyright Registration tor a Group of Published photographs
     Registration issued pursuant to 37 C.F.R. S 202.4(i)
                  For Photographs Published: January 17,2023 to April 17,2023

                    Title

                               Title ofGroup: 'fushbaby Photos 2023 by Jackie Cederholm
         Number of Photographs in Group: 245

      Completion/Publication
                        Year of Completion: 2023
        Earliest Publication Da0e in Group: lantary 17,2023
         Latest Publication Date in Group: Ap lT,2023
                 Nation of First Publication: United States




      Author

                                    Author;         Jackie Cederholm
                             Author Created:        photogIaphs
                                 Domiciled in:      United States

      Copyright Claimant
                         Copyright Claimant:        TushBaby, Inc.
                                                    2356 Lariat Ln, Walnut Creek, CA, 94596, United States
                         Transfer statcment:        By fiitten agreement



      Rights and Permissions

                         Organization Name:         Witzburg Ventures LLC DBA Francesca Witzburg, Esq
                                         Name:      Francesca M. Witzburg
                                         Email:     francesca@ witzburg.com
                                    Telephone:      (911)397 - 1384


                                                                                                                     Page 1 of 2
Case 1:24-cv-20941-KMW Document 1-1 Entered on FLSD Docket 03/11/2024 Page 16 of 25



                            Address     One Rockefeller Plaza. l lth Floor
                                        New York, NY 10020 United States

  Certitication
                              Name:     Francesca M. Witzburg
                                Date:   August 07, 2023
       Applicant's Tracking Number:     TUSHB-CO7 number list.xlsx




             Copyright Oflice not€s: Regarding title information: Deposit contains complete list of titles that
                                        corespond to the individual photographs included in this group.

                                        Regarding group registration: A group of published photogaphs may b€
                                        rcgistered on one application with one filing fee only under limited
                                        circumstances. ALL of the following are required: L AII photographs (a) were
                                        created by the same author AND (b) are owned by the same copyright claimant
                                        AND (c) were published in the same calendar year AND 2. The group contains
                                        750 photographs or tess AND 3. A sequentially numbered list of photographs
                                        containing the title, file name and month of publication for each photograph
                                        included in the gtoup must be uploaded along with other required application
                                        materials. The list must be submined in an approved document format such as .
                                        XLS or .PDF. The file name for the numbered list must contain the title of the
                                        group and the Case Number assigned to the application.




                                                                                                            Page 2 of 2
Case 1:24-cv-20941-KMW Document 1-1 Entered on FLSD Docket 03/11/2024 Page 17 of 25
                        Registration #:   VAu00151 1354
                     Service Request #:   I -1297 0t t'7 616
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 ESCA LEGAL LLC
 Francesca M. Witzburg
 208 Lenox Ave #21 I
 Westfield, NJ 07090 Urited States
 Case 1:24-cv-20941-KMW Document 1-1 Entered on FLSD Docket 03/11/2024 Page 18 of 25
Certificate of Registration
                                                                                                                             $d
    sTAT.            This Certificate issued under the seal ofthe Coplright
                     OfEce in accordance with tide r7, Unite.d States Code,
                     attests that registration has been made for the work
                     identified below. The information on this certificate has   Registration Number
                     been made a part ofthe Copl.right OfEce records.
                                                                                 VAU 1-511-354
                                                                                 EffectiYe Date of Registration:
     870'
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                     United States Register ofCopyrights and Director
                                                                                 September 10, 2023
                                                                                 Registration Decision Date:
                                                                                 November 20, 2023




   Title
                       Title of Work: Tushbaby Anwork 2


   Completion/Publication
               Year of Completion: 2023

   Author
                             Author:       David Hassan
                      Author Created:      2-D artwork
                         Domiciled in:     United States


   Copyright Claimant
               Copyright Claimant:         TushBaby, Inc.
                                           PO Box 413, 160 Alamo Plz, Alamo, CA, 94507, United States
                   Transfer statement:     By written agreement




    Rights and Permissions

               Organization Name:          ESCA LEGAL LLC
                                 Name:     Francesca M. Witzburg
                                 Email:    francesca@ witzburg.com
                            Telephone:     (917 )397 -1384
                              Address:     One Rockefeller Plaza, I l th Floor
                                           New York, NY 10020 United States

   Certilication
                                 Name:     Francesca M. witzburg
                                  Date:    September 10,2023

                                                                                                               Page I of 2
   Case 1:24-cv-20941-KMW Document 1-1 Entered on FLSD Docket 03/11/2024 Page 19 of 25
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                        Tracking Number: TUSHB-CO8
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                   Copyright OIfice notes:   Basis for Registration: Registration does not extend to any useful article
                                             depicted. Registxation extends to deposited artwork only. l7 USC 101, 102(a),
                                             and 1 13.




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Case 1:24-cv-20941-KMW Document 1-1 Entered on FLSD Docket 03/11/2024 Page 20 of 25
                          Registration #:   VAu00l51l372
                      Service Request #:    I - 12969858681
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  ESCA LEGAL LLC
  Francesca M. Witzburg
  208 Lenox Ave #21 I
  Westfield, NJ 07090 United States
 Case 1:24-cv-20941-KMW Document 1-1 Entered on FLSD Docket 03/11/2024 Page 21 of 25

Certificate of Registration                                                                                                s'rfl
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    sTAT             This Certificate issued under the seal ofthe Copyright
                     Office in accordance with title ry , United States Code,
                     attests that registration has been made for the work
                     identified below. The information on this certificate has   Registration Number
                     been made a part ofthe Copyright Office records.            VAU 1-511-372

                   ,lrtt^&rnA
                                                                                 ElTective Date of Registration:
     t 81o                                                                       September 10, 2023
                                                                                 Begistration Decision Date:
                     United States Register ofCopyrights and Director            November 20, 2023




   Title
                       Title of \trork: Tushbaby Artwork 3


   Completion/Publ ication
               Year of Completion: 2023

   Author

                               Authori     David Hassan
                      Author Created:      2-D artwork
                         Domiciled in:     United States


   Copyright Claimant
               Copyright Claimant:         TushBaby, Inc.
                                           PO Box 413, 160 Alamo Plz, Alamo, CA, 94507, United States
                   Transfer statement:     By written agreement




    Rights and Permissions

               Organization Name:          ESCA LEGAL LLC
                                 Name:     Francesca M. Witzburg
                                 Email:    francesca@ wiuburg.com
                            Telephone:     (917 )397 -t384
                              Address:    One Rockefeller Plaza, I I th Floor
                                          New York, NY 10020 United States

   Certification
                                 Name:    Francesca M. Witzburg
                                  Date:   September 10, 2023


                                                                                                             Page 1 of 2
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Case 1:24-cv-20941-KMW Document 1-1 Entered on FLSD Docket 03/11/2024 Page 22 of 25



       Applicant'sTrackingNumber: TUSHB-CO9


            Copyright Office not€s:




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Case 1:24-cv-20941-KMW Document 1-1 Entered on FLSD Docket 03/11/2024 Page 23 of 25
                         Registration #: VAu001508280
                     Service Request   #: 1-12957840559
                                                                                      H


 Witzburg Ventures LLC DBA Francesca Witzburg, Esq
 Francesca M. Witzburg
 208 Lenox Ave., #21 I
 Westfield, NJ 07090 United States
 Case 1:24-cv-20941-KMW Document 1-1 Entered on FLSD Docket 03/11/2024 Page 24 of 25
Certificate of Registration
                                                                                                                                ifH
                                                                                                                                a=r",
    .s'taaa             This Certificate issued under the seal ofthe Copyright
                        Office in accordance wrth title v, United Stites Code,
                        attests that registration has been made for the work
                        identified below. The information on this certificate has   Registration Number
                        been made a part ofthe Copyright Office records.
                                                                                    VAU 1-508-280
                                                                                    Effective Date of Registration:
      870'
                    ,41.t^&ril"ffi
                        United States Register ofCopyrights and Director
                                                                                    September 08, 2023
                                                                                    Registration Decision Date:
                                                                                    Octobet 12,2023




  Copyright Registration for a Group of Unpublished Photographs
  Registration issued pursuant to 37 C.F.R. S 202.4(j)

                Tiile

                        Title of Group:        Tushbaby Snug Photos - First 8
      Number of Photographs in Group:          8


   Completion/Publication
                    Year of Completion: 2013




   Author

                                 Author:       Jackie Cederholm
                          Author Created:      photographs
                             Domiciled in:     Ilnited States

   Copyright Claimant
                    Copyright Claimant:        TushBaby,Inc.
                                               PO Box 413, 160 Alamo Plz, Alamo, CA,94507, United States
                     Transfer statement:       By wdtten agreement



   Rights and Permissions

                    Organization Name:         Witzbug Ventures LLC DBA Francesca Witzburg, Esq
                                     Name:     Francesca M. Witzburg
                                     Email:    francesca @ witzburg.com
                                Telephone:     (917)397 -1384
                                  Address:     One Rockefeller Plaza, 1 1th Floor
                                               New York- NY 10020 United States

   Certilication
                                                                                                                  Page 1 of 2
Case 1:24-cv-20941-KMW Document 1-1 Entered on FLSD Docket 03/11/2024 Page 25 of 25




                              Name:     Francesca M. Witzburg
                               Date:    September 08, 2023
       Applicant's Tracking Numbcr:     TUSHB-COI O




             Copyright Oflice notes: Regarding title information: Deposit contains complete list of titles that
                                        correspond to the individual photographs included in this group.

                                        Regarding group registration: A group of unpublished photographs may be
                                        registered on one application with oae filing fee only under limited
                                        circumstances. ALL of the following are required: 1. All photographs (a) are
                                        unpublished AND (b) were created by the same author AND (c) are owned by
                                        the same copyright claimant AND 2. The group contains 750 photographs or
                                        less AND 3. A sequentially numbered list of photographs containing the title
                                        aud file nafii, fur earh photograph included in th€ group must bc uplcaded
                                        along with other required application materials. The list must be submitted in
                                        an approved document format such as .XLS or .PDF. The hle name for the
                                        numbered list must contain the title of the group and the Case Number assigned
                                        to the application.




                                                                                                             Page 2 of 2
